From:             USPS
To:               dfrost1778@gmail.com
Subject:          Informed Delivery Daily Digest
Date:             Saturday, April 18, 2020 7:38:23 AM




You have mail and packages arriving soon.                                                               4/18/2020




                      COMING TO YOUR MAILBOX SOON.

  You have mail arriving soon.




                                                                                    View all mail on dashboard




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 The packages below are expected to be delivered based upon data at the time this email was sent.




                                                                                                    View all packages on dashboard


      Arriving Today                                                                                           Saturday, Apr 18



          No packages available to display.




      Arriving Soon



          No packages available to display.




You may have more mail or packages than are shown in your Daily Digest. To check, go to your Dashboard  




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 Mail may arrive several days after you receive this notification. Please allow up to a week for delivery before
                                            reporting missing mail.

                                                               Report missing mail  



  *Not all mail is imaged and sorted on USPS® automated equipment. Therefore, some of your mail may not be shown here.

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